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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Thomas R. Mulhearn,                          )
                                             )
        Plaintiff,                           )
                                             )
        v.                                   )      No.    10 C 7934
                                             )
Blitt & Gaines, P.C., an Illinois            )
professional corporation,                    )
                                             )
        Defendant.                           )      Jury Demanded

                                         COMPLAINT

        Plaintiff, Thomas R. Mulhearn, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant's debt

collection actions violated the FDCPA, and to recover damages for Defendant's violation

of the FDCPA, and alleges:

                                JURISDICTION AND VENUE

        1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

        2.      Venue is proper in this District because: a) the acts and transactions

occurred here; and, b) Defendant resides and transacts business here.

                                           PARTIES

        3.      Plaintiff, Thomas R. Mulhearn ("Mulhearn"), is a citizen of the State of

Colorado, from whom Defendant attempted to collect a delinquent consumer debt he

allegedly owed for a Capital One credit card.

        4.      Defendant, Blitt & Gaines, P.C. (“Blitt”), is an Illinois professional

corporation and law firm that acts as a debt collector, as defined by § 1692a of the
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FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debts. Defendant Blitt operates a nationwide debt

collection business and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Illinois. In fact, Defendant Blitt was acting as

a debt collector as to the delinquent consumer debt it attempted to collect from Plaintiff.

       5.     Defendant Blitt is licensed to conduct business in Illinois and maintains a

registered agent here, see, record from the Illinois Secretary of State, attached as

Exhibit A. In fact, Blitt conducts business in Illinois.

                                 FACTUAL ALLEGATIONS

       6.     Mr. Mulhearn is a senior citizen, with limited assets and income, who fell

behind on paying his bills, including a debt he allegedly owed for Capital One credit

card. At some point in time after that debt became delinquent, Capital One hired

Defendant Blitt to collect the debt. Inexplicably, Defendant Blitt filed a lawsuit against

Mr. Mulhearn on October 7, 2010, in a matter styled Capital One Bank v. Thomas R.

Mulhearn, No. 2010-M1-193627, in the Circuit Court of Cook County, Illinois. A copy

the collection lawsuit is attached as Exhibit B.

       7.     Although Mr. Mulhearn is represented as to his debts by the legal aid

attorneys at LASPD in Chicago, Illinois, he is a resident of Colorado and has never

resided in Illinois, including Cook County, where the lawsuit was filed.

       8.     Oddly, Defendant Blitt attempted to have the lawsuit served on Mr.

Mulhearn at the offices of his legal aid attorneys at LASPD, at 205 West Monroe,

Chicago, Illinois, which, based upon their extensive past dealings with LASPD,

Defendant knew, or should have known, was the business address for LASPD, not the



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residence of Mr. Mulhearn. A copy of the Cook County Sheriff’s Civil Data Information

Center civil process result sheet is attached as Exhibit C.

       9.     Defendant's collection actions complained of herein occurred within one

year of the date of this Complaint.

       10.    Defendant's collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).

                         Violation Of § 1692i Of The FDCPA --
                         Filing A Lawsuit In The Wrong Venue

       11.    Section 1692i of the FDCPA requires that debt collectors file suit only in

the judicial district where the consumer “signed the contract sued upon” or “where the

consumer resides at the commencement of the action”. 15 U.S. C. § 1692i(a)(2)

       12.    Mr. Mulhearn, a resident of Colorado, has never lived in Illinois. By filing

suit against him in Cook County, Illinois, Defendant violated § 1692i of the FDCPA.

       13.    Defendant's violation of § 1692i of the FDCPA renders it liable for actual

and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                 PRAYER FOR RELIEF

       Plaintiff, Thomas R. Mulhearn, prays that this Court:

       1.     Find that Defendant's debt collection actions violated the FDCPA;

       2.     Enter judgment in favor of Plaintiff Mulhearn, and against Defendant, for

actual and statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.


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                                      JURY DEMAND

       Plaintiff, Thomas R. Mulhearn, demands trial by jury.

                                                     Thomas R. Mulhearn,

                                                     By: /s/ David J. Philipps____________
                                                     One of Plaintiff's Attorneys
Dated: December 14, 2010

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